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18
                                UNITED STATES DISTRICT COURT
19
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                     WESTERN DIVISION
21
       UNITED STATES OF AMERICA; the               No. CV 13-5861 JLS (AJWx)
22     STATES of CALIFORNIA, DELAWARE,
       FLORIDA, GEORGIA, HAWAII,                   UNITED STATES OF AMERICA’S
23     ILLINOIS, INDIANA, LOUISIANA,               STATUS REPORT
       MICHIGAN, MINNESOTA, MONTANA,
24     NEVADA, NEW HAMPSHIRE, NEW
       JERSEY, NEW MEXICO, NEW YORK,
25     NORTH CAROLINA, OKLAHOMA,
26     RHODE ISLAND, TENNESSEE, TEXAS,
       and WASHINGTON; COMONWEALTHS
27     of MASSACHUSETTS and VIRGINIA,
       and the DISTRICT OF COLUMBIA ex rel.
28     MARIA GUZMAN,
                  Plaintiffs,
     Case 2:14-cv-09179-JLS-AJW Document 57 Filed 08/05/19 Page 2 of 4 Page ID #:325




 1                       v.
 2     INSYS THERAPEUTICS, INC.;
       MICHAEL BABICH, an individual; ALEC
 3     BURLAKOFF, an individual; and DOES 1
       through 15,
 4
                  Defendants.
 5
 6
       UNITED STATES OF AMERICA ex rel.           No. CV 14-3488 JLS (AJWx)
 7     JOHN DOE and ABC, LLC,
 8                Plaintiffs,
 9                       v.
10     INSYS THERAPEUTICS, INC.; ALEC
       BURLAKOFF; and MICHAEL L.
11     BABICH,
12                Defendants.
13
14
       UNITED STATES OF AMERICA ex rel.           No. CV 14-9179 JLS (AJWx)
15     TORGNY ANDERSSON,
16                Plaintiffs,
17                       v.
18     INSYS THERAPEUTICS, INC.,
19                Defendant.
20
21     UNITED STATES OF AMERICA ex rel.           No. CV 16-2956 JLS (AJWx)
       ALLISON ERICKSON and SARA
22     LUEKEN,
23                Plaintiffs,
24                       v.
25     INSYS THERAPEUTICS, INC.,
26                Defendant.
27
28
                                              2
     Case 2:14-cv-09179-JLS-AJW Document 57 Filed 08/05/19 Page 3 of 4 Page ID #:326




 1     UNITED STATES OF AMERICA ex rel.                No. CV 16-7937 JLS (AJWx)
       JANE DOE and the States of
 2     CALIFORNIA, COLORADO,
       CONNECTICUT, DELAWARE,
 3     FLORIDA, GEORGIA, HAWAII,
       ILLINOIS, INDIANA, IOWA,
 4     LOUSIANA, MARYLAND,
       MASSACHUSETTS, MICHIGAN,
 5     MINNESOTA, MONTANA, NEVADA,
       NEW JERSEY, NEW MEXICO, NEW
 6     YORK, NORTH CAROLINA,
       OKLAHOMA, RHODE ISLAND,
 7     TENNESSEE, TEXAS, VERMONT,
       VIRGINIA, WASHINGTON, the CITY
 8     OF CHICAGO, and the DISTRICT OF
       COLUMBIA,
 9
                   Plaintiffs,
10
                          v.
11
       INSYS THERAPEUTICS, INC. and
12     LINDEN CARE LLC,
13                 Defendants.
14
15
16          Pursuant to this Court’s Order filed on May 11, 2018 (Docket No. 69), plaintiff
17    United States of America, by its attorneys, respectfully submits this status report to the
18    Court and the parties in these consolidated actions.
19          On August 9, 2018, the United States advised the Court that it and defendant Insys
20    Therapeutics, Inc. (“Insys”) had reached a tentative settlement-in-principle, that the
21    settlement-in-principle was subject to governmental and other approvals, and that the
22    tentative agreement resolved material terms that had been the subject of ongoing
23    settlement negotiations.
24          On June 5, 2019, the United States and Insys executed a settlement agreement
25    regarding the United States’ claims against Insys in these actions. The intervening states
26    and the relator were not parties to this settlement agreement.
27          On June 10, 2019, Insys filed for bankruptcy in the United States Bankruptcy
28    Court for the District of Delaware. In re Insys Therapeutics, Inc., No. 19-11292-KG
                                                   3
     Case 2:14-cv-09179-JLS-AJW Document 57 Filed 08/05/19 Page 4 of 4 Page ID #:327




 1    (filed June 10, 2019) (“bankruptcy case”). A hearing is presently scheduled for August
 2    15, 2019 in the bankruptcy case to seek approval of a compromise agreement between
 3    Insys and the United States, which hearing may have a material bearing on the United
 4    States’ claims in these False Claims Act cases. Further, the United States believes that it
 5    and other creditors of Insys have until December 19, 2019 to file any pre-petition claims
 6    in the bankruptcy case.
 7          Additionally, counsel for the United States has confirmed with prosecutors
 8    handling United States v. Freeman, CR 18-00217-KMW (S.D.N.Y. filed Mar. 14, 2018),
 9    that trial in that case is currently set for November 4, 2019 (“Freeman case”). The
10    Freeman case raises allegations that overlap with some of the allegations in these cases.
11          At this time, the United States believes that a further stay of these actions is
12    necessary pending further developments in these matters. The United States will file a
13    further status report no later than 90 days after the filing of this report.
14                                          Respectfully submitted,
15     Dated: August 5, 2019               JOSEPH H. HUNT
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                                           Attorneys, Civil Division
23                                         United States Department of Justice
24                                            /S/ John E. Lee
                                           _____________________________________
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26                                         Attorneys for the United States of America
27
28
                                                     4
